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AO 4-42 (Rev. I 1/11) Anat Warrant


                                           UNITED STATES DISTRICT COURT
                                                             for the
                                                      'i)l~iP.\C.T oF \JE""Ql"OOtJT


                      United States of America
                                  v.
                                                                        Case No.   ~:   d I, er - t 0Q-1
                            John Griffin




To:        Any authorized law enforcement officer



(nanie ofperson to be arrested)        John Griffin
who is accused of an offense or violation

~ Indictment                                                                                                     CJ Complaint
•    Probation Violation Petitio                                                   CJ Violation Notice           CJ Order of the Court


    From on or around                                                    en Ju      12 and June 13, 2020, and from June 14
    to on or about July 24, in                                            riffin attempted to induce a minor to engage in
    Illegal sex in violation of 18




Date:           12/09/2021
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City and state:                                                        Lisa \).)ri ~t, Dept.rh/ Cl e.r](
                                                                                        Printed name and title




          This
at (city and state)


Date:   12/tol
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